






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00298-CV







Car Traders, Inc. and Carmelo Luis Velez, Appellants


v.


Roy James, Appellee






FROM THE DISTRICT COURT OF FAYETTE COUNTY, 155TH JUDICIAL DISTRICT

NO. 2000V-139, HONORABLE DANIEL R. BECK, JUDGE PRESIDING



	



	Appellants Car Traders, Inc. and Carmelo Luis Velez have informed this Court that they no
longer wish to pursue their appeal and understand that it will be dismissed for want of prosecution. 
Accordingly, we dismiss this appeal for want of prosecution on our own motion.



						                                                                                   

						Marilyn Aboussie, Chief Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Yeakel

Dismissed for Want of Prosecution

Filed:   May 31, 2002

Do Not Publish


